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 7
                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
 9                                    AT SEATTLE

10
     BUNGIE, INC., a Delaware corporation,              No. 2:21-cv-1114
11
                           Plaintiff,                   COMPLAINT
12                                                      WITH JURY DEMAND
            v.
13
     VETERANCHEATS.COM, a business of
14   unknown classification; DOE 1 a/k/a
     BLAZE, an individual; DOE 2 a/k/a
15
     KNORR, an individual; DOE 3 a/k/a
16   JOHN MCBERG, an individual, and
     DOES 4-10,
17
                           Defendants.
18

19          Plaintiff Bungie, Inc. (“Plaintiff” or “Bungie”), by and through its undersigned

20   attorneys, for its Complaint against Defendants Veterancheats.com, Doe 1 a/k/a Blaze,

21   Doe 2 a/k/a Knorr, Doe 3 a/k/a John McBerg, and Does 4-10 (“Defendants”), hereby

22   alleges and avers as follows:

23                                       INTRODUCTION

24          1.      Bungie is the owner and developer of the Destiny franchise—a series of

25   online shared-world multiplayer games and expansions. The current iteration, Destiny 2,

26   and its expansions have achieved critical commercial success and drawn together a

     community of millions of players around the world. Destiny 2 features regular expansions,
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 1   seasonal content, and continual updates to improve the player experience and maintain
 2   long-term engagement.
 3          2.      While most players embrace the game experience as Bungie intended,
 4   competing fairly with the game and with one another, some players use illicit software
 5   that “hacks” Destiny 2 to create unfair advantages that ruin the experience for the rest of
 6   the community.
 7          3.      Defendants provide, market, and support cheat software that encourages
 8   players to violate Bungie’s software license agreement (“SLA”) and damages the shared
 9   experience of Destiny 2. In Defendants’ own words, their “VeteranCheats” software
10   targets Destiny 2 by “inject[ing] code into the game memory,” giving players an “array of
11   features” to cheat—not just against the game itself, but against any other player who
12   happens to encounter the cheater in the game.
13          4.      The “array of features” Defendants’ software creates for their customers
14   includes “ESP” functionality that allows the cheater to see other players’ characters
15   through walls and other barriers, “bots” that automatically target other players so the
16   cheater can fire instantly and without having to aim, and other enhancements that are
17   fundamentally unfair to the millions of players who invest time, money, and energy
18   exploring and progressing through the game fairly.
19          5.      Bungie has invested and continues to invest significant time and resources
20   to protect and improve the player experience in Destiny 2. For example, Bungie has both
21   developed and licensed technology to detect and defeat cheat software, and routinely bans
22   users who use such software to gain an unfair advantage over other players.
23          6.      As part of its diligent efforts to protect the Destiny experience, Bungie is
24   seeking legal recourse against cheat developers and/or distributors like Defendants, who
25   seek to profit by circumventing Bungie’s license terms and security technology to give
26   unscrupulous players unfair advantages.


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 1          7.      Accordingly, Bungie sues Defendants for the causes of action asserted in
 2   this Complaint, alleging as follows.
 3                                           PARTIES
 4          8.      Bungie is a Delaware corporation with its principal place of business at 550
 5   106th Avenue NE, Suite 207, Bellevue, Washington, 98004-5088. Bungie is the publisher
 6   of, and owner of exclusive rights in and to, Destiny 2.
 7          9.      Bungie is currently unaware of the identities of Defendants and therefore
 8   sues them by the fictitious names Does 1-10. Bungie is informed and believes that
 9   discovery will reveal the Doe Defendants’ true identities. Bungie will amend this
10   Complaint to identify Defendants by name after their identities are revealed.
11                                JURISDICTION AND VENUE
12          10.     This Court has subject matter jurisdiction over Bungie’s claims for
13   violations of the Copyright Act and anti-circumvention provisions of the Digital
14   Millennium Copyright Act (DMCA) and related claims pursuant to 17 U.S.C. § 501 and
15   28 U.S.C. §§ 1331 and 1338(a).
16          11.     This Court has supplemental jurisdiction over Bungie’s state law claims
17   under 28 U.S.C. § 1367(a) because those claims are so related to Bungie’s claims under
18   federal law that they form part of the same case or controversy and derive from a common
19   nucleus of operative fact.
20          12.     On information and belief, personal jurisdiction over Defendants is proper
21   because Defendants consented to jurisdiction in the state and federal courts in King
22   County, Washington. On information and belief, Defendants accepted the terms of
23   Bungie’s SLA, which contains a forum selection clause providing that the user agrees to
24   submit to the jurisdiction of any federal or state court in King County, Washington.
25          13.     On information and belief, personal jurisdiction over Defendants is also
26   proper because, as explained in detail below, Defendants infringed Bungie’s copyrights,

     circumvented and/or trafficked in technology that circumvented Bungie’s technological
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 1   protection measures, and committed other acts directed to the state of Washington.
 2   Defendants knew or should have known that the impact of their intentional acts would
 3   cause harm in Washington, where Bungie is headquartered.
 4          14.     Venue is proper pursuant to 28 U.S.C. § 1391(b) because a substantial part
 5   of the events or omissions giving rise to the claims occurred in this judicial district and
 6   Defendants have harmed Bungie in this judicial district.
 7          15.     Venue is also proper because Defendants consented to suit in the federal
 8   court located in King County, Washington.
 9                                 FACTS AND BACKGROUND
10   A.     Bungie and the Destiny Franchise
11          16.     Bungie is an independent game development studio that designs, develops,
12   and distributes the shared-world online multiplayer game Destiny 2, that combines story-
13   driven player-versus-environment (PvE) gameplay where players can work alone or
14   together to complete missions and battle non-player character (NPC) opponents, and
15   player-versus-player (PvP) modes where players compete against each other.
16          17.     Building on the success of Destiny, the original game, Bungie released
17   Destiny 2 in September 2017. Destiny 2 is currently available on Windows-based personal
18   computers, home video game consoles, and the Google Stadia cloud gaming service. The
19   Destiny community includes over 25 million registered players and is a commercial
20   success.
21          18.     Throughout the “shared-world” of Destiny 2, players see and interact with
22   each other. In most gameplay modes, players are automatically grouped together by
23   “always on” multiplayer matchmaking. Players who succeed in PvE or PvP content are
24   rewarded with in-game items, seals, and titles that are visible to other players, some of
25   which enhance their in-game progression, and some of which is purely cosmetic or
26   desirable due to scarcity or for reflecting skill or achievement. Success at challenging end-

     game PvE or PvP content can allow players to earn especially rare loot, cosmetic items,
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 1   and access to exclusive rewards such as special physical merchandise. Competition is
 2   fierce among players trying to earn these achievements and rewards.
 3                19.   Bungie provides the basic Destiny 2 game free of charge, generating
 4   revenue by selling expansion packs, in-game currency, season passes, and other add-ons
 5   that introduce new characters, storylines, weapons, and reputation-enhancing tokens like
 6   armor ornaments and emblems.
 7                20.   Bungie owns all rights, title, and interest in the copyrights in Destiny,
 8   Destiny 2, and all expansions, including without limitation, in its computer software and
 9   the audiovisual works that the software creates (collectively, the “Destiny Copyrights”).
10   These copyrights are the subjects of U.S. Copyright Registrations listed in the table below,
11   and attached as Exhibits 1–4.
12
          Title            Type             Registration         Date of 1st           Expiration Date
13                                          No.                  Publication           of Registration

14        Destiny 2        Code             TX 8-933-655      September 9,             September 9,
                           (Literary                          2017                     2112
15                         Work)
          Destiny 2:       Code             TX 8-933-658      November 10,             November 10,
16        Beyond           (Literary                          2020                     2115
17        Light            Work)
          Destiny 2        Audiovisual      PA 2-282-670      September 9,             September 9,
18                                                            2017                     2112
          Destiny 2:       Audiovisual      PA 2-280-030      November 10,             November 10,
19
          Beyond                                              2020                     2115
20        Light

21   B.           The Threat of Cheating and Bungie’s Efforts to Protect its Player Community
22                21.   The markets for online first-person shooter and online multiplayer games
23   are extremely competitive, and Destiny 2 remains attractive to players because it is a
24   “living game” in which Bungie constantly reinvests with new content and with
25   improvements to existing content. However, this commitment to provide new content
26   means that player retention is very important to Destiny 2’s commercial success.


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 1           22.    Unfortunately, unscrupulous developers and players can destroy the
 2   Destiny 2 experience for the community by deploying “cheat” software. This software,
 3   described in more detail below, gives users unfair advantages in both PvE and PvP modes.
 4   Among other things, cheat software can give the user the ability to “see” their human and
 5   NPC opponents through walls and other barriers, “teleport” their characters and other
 6   players’ characters to new locations of the cheater’s choice, fire weapons more quickly
 7   and more accurately than humanly possible, become impervious to damage, never run out
 8   of ammunition, and other abilities that are fundamentally inconsistent with the shared
 9   experience of Destiny 2 that Bungie has worked diligently to create for its dedicated
10   community of players.
11           23.    Users who rely on cheat software to enhance their own performance
12   against the game’s environment and against fellow players ruin the Destiny 2 experience
13   for the rest of the community. In the PvP modes, honest players have little chance of
14   progressing or earning rewards against opponents who can see them through walls, shoot
15   them from impossible distances, and never run out of ammunition. Likewise in the PvE
16   modes, players who enjoy the sense of progress and accomplishment by overcoming
17   Destiny 2’s challenges find their achievements devalued by cheaters.
18           24.    Given the threat that cheaters pose to the Destiny 2 community and to
19   Bungie’s own reputation, Bungie invests an enormous amount of time and money to
20   ensure that all players stand on equal footing and have a fair chance of progressing in the
21   game.
22           25.    To download, install, and play Destiny 2, players must create and register
23   an account with Bungie and accept the terms of its Limited Software License Agreement
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 1   (“SLA”).1 If a user does not agree to the SLA, the program will close and the user will not
 2   be able to access the game.
 3              26.     Under the SLA, players agree among other things not to:
 4                         hack or modify Destiny 2, or create, develop, modify, distribute, or use
 5                          any unauthorized software programs to gain advantage in any online or
 6                          multiplayer game modes;
 7                         reverse engineer, derive source code, modify, decompile, or
 8                          disassemble Destiny 2;
 9                         exploit Destiny 2 or any of its parts commercially; or
10                         receive or provide ‘boosting services,’ to advance progress or achieve
11                          results that are not solely based on the account holder’s gameplay.
12              27.     The SLA also specifically prohibits users from copying, reproducing,
13   distributing, displaying or using any part of Destiny 2 except as expressly authorized by
14   Bungie, and prohibits the creation of unauthorized derivative works.
15              28.     Bungie also employs anti-cheat technologies both within the game software
16   client and on Bungie’s servers that operate whenever the software client is running and
17   must operate in order for users to play Destiny 2. These anti-cheat technologies are
18   designed to protect and prevent players from accessing, reading, writing or modifying
19   critical data used by the computer to enable multiplayer online gameplay.
20              29.     In the ordinary course of operation, Bungie’s anti-cheat software detects
21   whether malicious code has been inserted or injected into a computer’s memory, and
22   otherwise monitors the operation of the game to determine whether a player is using
23   cheating software to gain an unfair advantage in the game. If Bungie’s software detects
24   that the player is using cheating software, the player will be denied access to Bungie’s
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         Bungie’s SLA is available at www.bungie.net/7/en/Legal/SLA.
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 1   server or Bungie may take other disciplinary action such as banning the player from the
 2   game.
 3           30.    Bungie provides an in-game tool as well as an online form on the Bungie
 4   website for players to report cheating, and uses those reports to investigate cheaters.
 5           31.    Bungie regularly bans cheaters by disabling the players’ accounts. Bungie
 6   may also implement a “Hardware ID” (“HWID”) ban that blocks access to the game from
 7   the PC used by the cheating player, to ensure that the player cannot circumvent the ban by
 8   creating a new user account. To implement a HWID ban, Bungie obtains configuration
 9   data from the player’s PC sufficient to uniquely identify the PC and denies subsequent
10   access to the game by players using that PC.
11   C.      Defendants’ VeteranCheats Software and the Irreparable Harm it has
12           Caused to Bungie and the Destiny 2 Community

13           32.    On information and belief, Defendants have individually and collectively
14   developed, adapted, advertised, sold, distributed and/or provided technical support for
15   cheat software that explicitly targets Destiny 2 (the “VeteranCheats Software”).
16           33.    Defendants advertise and sell the VeteranCheats Software through their
17   website, Veterancheats.com (the “Website”).
18           34.    On information and belief, Defendants individually and collectively
19   develop, update, adapt, test, support, and otherwise exploit the VeteranCheats software,
20   each causing the unlawful acts alleged in this Complaint to occur, making them jointly
21   and severally liable for each and every cause of action alleged in this Complaint.
22           35.    In addition to the above, on information and belief Defendant Doe 1 a/k/a
23   Blaze also owns and controls the Website.
24           36.    Defendants offer two cheat products for Destiny 2: “HLBOT” and “Razor.”
25   Users can purchase a “day key” or a “month key” for either product. Defendants charge
26   approximately $19 (17€) per day or $164 (140€) per month for HLBOT, and $13 (11€)

     per day or $105 (90€) per month for Razor.
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 1          37.     Defendants are not subtle about their intentions. In fact, they cite the
 2   strength of Bungie’s anti-cheat software as the reason they charge such exorbitant
 3   subscription fees as shown in the below screenshot from the Website (emphasis added):
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            38.     Once a player activates Defendants’ software and “injects [the] code into
12
     the game memory,” the player can choose from Defendants’ “array of features” which
13
     includes “aimbots” (which automatically target opponents on screen, allowing the cheater
14
     to make even the most difficult shots with little or no effort), “ESP” (which allows players
15
     to see information about their opponents—such as locations and weapons—that is
16
     normally not visible) and a variety of other artificial enhancements such as unlimited
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     ammunition and unlimited lives. Exemplary screen captures showing some of these
18
     features are shown below.
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12          39.    Defendants promote their VeteranCheats Software online and on their
13   Website, including by uploading videos showing the cheat software in action. The videos
14   illustrate the modifications the software makes to the Destiny 2 game displays. Among
15   other things, Defendants’ software adds text, numbers, and images that reveal the
16   locations of other players who would otherwise be hidden behind walls or other objects,
17   and add highlighted “targeting” frames around other players’ characters:
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23          40.    The VeteranCheats Software also alters the display and game experience

24   for other players. For example, a player whose opponent uses “ESP” to see their location

25   through a wall and the “aimbot” to shoot them the instant they come into view experiences

26   an impermissibly altered—and fundamentally unfair—version of the game. Defendants’


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 1   own promotional videos document how their software enables their customers to modify
 2   the game for other players.
 3              41.      This unfair and unauthorized alteration of the Destiny 2 experience causes
 4   concrete and irreparable harm to Bungie and the Destiny 2 community. As the
 5   representative tweets below illustrate,2 cheaters ruin the game experience for honest
 6   players, damaging Bungie’s reputation and impairing its ability to keep players engaged.
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20              42.      Further compounding the damage, Defendants’ VeteranCheats Software
21   also features HWID Spoofers, which facilitate altering the information Bungie’s anti-cheat
22   systems use to identify and block access to hardware that has been banned for cheating or
23   other violations of Bungie’s SLA, thus circumventing specific technical measures
24   designed to prevent banned users from accessing Bungie’s services. Defendants readily
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     2
         The names, profile images, and handles for these posts have been redacted.
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 1   admit on their Website that the VeteranCheats Software is intended to evade detection by
 2   Bungie’s anti-cheat technology:
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12          43.    In promoting the VeteranCheats Software, Defendants use imagery from
13   Destiny 2, as shown in the below example screenshots from the Website. Bungie has not
14   authorized Defendants to reproduce, modify or otherwise use the game’s copyrighted
15   imagery or displays.
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24          44.    Defendants also offer customer service for the VeteranCheats Software,
25   including providing updates, as evidenced by the below example screenshot Defendants’
26   chat box on the Website:

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            45.    On information and belief, in developing, updating, adapting, testing,
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     supporting, and otherwise exploiting the VeteranCheats Software, Defendants have
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     downloaded, installed, and played Destiny 2, accepting the terms of Bungie’s SLA in the
13
     process.
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            46.    On information and belief, in developing, updating, adapting, testing,
15
     supporting, and otherwise exploiting the VeteranCheats Software, Defendants copied
16
     Bungie’s copyrighted works and reverse engineered, disassembled, decompiled,
17
     decrypted, and/or modified those works without Bungie’s authorization, in violation of the
18
     SLA.
19
            47.    On information and belief, the VeteranCheats Software incorporates
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     technology that avoids, bypasses, removes, deactivates, and/or impairs Bungie’s
21
     technological measures that control access to Bungie’s copyrighted code and/or
22
     audiovisual works for Destiny 2.
23
            48.    On information and belief, each time a player uses the VeteranCheats
24
     Software, the software circumvents Bungie’s technological protection measures by
25
     evading anti-cheat protections and detection. Thus, by using the VeteranCheats Software
26
     players breach the SLA by “us[ing] an[] unauthorized software program[] to gain

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 1   advantage in any online or multiplayer game modes.” On information and belief, as a
 2   result of Defendants’ conduct, thousands of such breaches have occurred.
 3          49.     Defendants’ actions have caused and continue to cause serious and
 4   irreparable harm to the Destiny 2 community and to Bungie. Legitimate players frustrated
 5   by cheaters invest less—both in terms of time and money—in the game, and may stop
 6   playing the game altogether. This harms Bungie financially and reputationally, sapping
 7   the goodwill upon which Bungie’s business depends.
 8          50.     The financial harm to Bungie also includes the significant resources it has
 9   been forced to invest attempting to detect, investigate, and remediate cheating activity,
10   including constantly updating and hardening its anti-cheat technology, responding to
11   player complaints, and banning users of Defendants’ VeteranCheats Software.
12          51.     On information and belief, Defendants rely on third-party service providers
13   both within and outside the United States to operate the Website, distribute the
14   VeteranCheats Software, and collect and process payments.
15                                FIRST CAUSE OF ACTION
16                       (Copyright Infringement, 17 U.S.C. § 501, et seq.)

17          52.     Bungie repeats, realleges, and incorporates herein by reference the

18   allegations in the foregoing paragraphs as if fully set forth herein.

19          53.     Destiny 2, including its underlying source code, client files, screen

20   displays, artwork, and other audiovisual elements, constitutes an original work of

21   authorship and copyrightable subject matter under the laws of the United States.

22          54.     Bungie owns or has exclusive rights to all right, title, and interest in

23   Destiny 2.

24          55.     Defendants had access to Destiny 2.

25          56.     Defendants have infringed Bungie’s Destiny Copyrights by:

26                      Copying or reproducing Destiny 2;

                        Reproducing artwork from Destiny 2 on the Website; and
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 1                       Creating derivative works, including by modifying Destiny 2’s
 2                        performance and screen displays.
 3           57.      Defendants’ users also infringe Bungie’s copyrights when using the
 4   VeteranCheats Software to create derivative works, including by modifying Destiny 2’s
 5   performance and screen displays for themselves, in streams transmitted and uploaded
 6   through third-party services, and for other players who interact with them in both PvE and
 7   PvP modes. Defendants are liable for inducing and contributing to such infringing acts.
 8           58.      Moreover, Defendants have used Destiny 2 beyond the scope of the SLA in
 9   a manner that constitutes copyright infringement. Defendants also have induced and
10   contributed to others, namely users of the VeteranCheats Software, using the game
11   beyond the scope of the SLA. Defendants are liable for their users’ infringing acts.
12           59.      Defendants’ actions are willful, in disregard of, and with indifference to
13   Bungie’s rights.
14           60.      Defendants’ conduct has caused irreparable harm to Bungie, and, unless
15   enjoined, will cause further irreparable harm for which Bungie has no adequate remedy at
16   law.
17           61.      Bungie is entitled to relief pursuant to 17 U.S.C. §§ 502-505, including, but
18   not limited to, injunctive relief, an order for the impounding and destruction of
19   Defendants’ infringing copies and/or derivative works, compensatory damages (including,
20   but not limited to actual damages and/or Defendants’ profits), and Bungie’s costs and
21   attorneys’ fees.
22                               SECOND CAUSE OF ACTION
23                 (Circumvention of Technological Measures, 17 U.S.C. § 1201(a))

24           62.      Bungie repeats, realleges, and incorporates herein by reference the

25   allegations in the foregoing paragraphs as if fully set forth herein.

26           63.      Bungie has designed and implemented technological measures to prevent

     and control access to Destiny 2. These technological measures include attempts to
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 1   safeguard data and prevent unauthorized reading and writing of this data, as well as
 2   unauthorized execution of game logic. Additional measures are taken to prevent otherwise
 3   normal game functionality (e.g. firing a weapon) from being manipulated, misused, or
 4   over-used to gain an unfair advantage.
 5           64.    In the ordinary course of the operation of these technological measures,
 6   they require the application of information, or a process or a treatment, with the authority
 7   of Bungie, to gain access to Destiny 2.
 8           65.    On information and belief, Defendants descrambled, decrypted, avoided,
 9   bypassed, removed, deactivated, and/or impaired one or more of Bungie’s technological
10   measures that control access to Destiny 2 without the authority of Bungie.
11           66.    As a direct result of Defendants’ circumvention, Bungie has been injured,
12   and will continue to be injured.
13           67.    Defendants’ actions were and are willful.
14           68.    Defendants’ conduct has caused irreparable harm to Bungie, and, unless
15   enjoined, will cause further irreparable harm for which Bungie has no adequate remedy at
16   law.
17           69.    Bungie is entitled to the relief provided by 17 U.S.C. § 1203, including, but
18   not limited to, injunctive relief, an order for the impounding, modification, or destruction
19   of any device or product in Defendants’ custody or control involved in the circumvention
20   of Bungie’s technological measures, actual damages and Defendants’ profits or statutory
21   damages, and Bungie’s costs and attorneys’ fees.
22                               THIRD CAUSE OF ACTION
              (Trafficking in Circumvention Technology, 17 U.S.C. §§ 1201(a)-(b))
23

24           70.    Bungie repeats, realleges, and incorporates herein by reference the

25   allegations in the foregoing paragraphs as if fully set forth herein.

26           71.    Bungie is the owner of valid, registered, and enforceable copyrights in

     Destiny 2.
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 1           72.    Bungie has designed and implemented technological measures to safeguard
 2   critical player data and prevent unauthorized reading and writing of this data, as well as
 3   unauthorized execution of game logic. Additional measures are taken to prevent otherwise
 4   normal game functionality from being manipulated, misused, or over-used to gain an
 5   unfair advantage.
 6           73.    In the ordinary course of the operation of these technological measures,
 7   they prevent, restrict, or otherwise limit the exercise of any rights in Destiny 2 exclusive
 8   to Bungie, including unauthorized modification of the game client or unauthorized
 9   modification of information sent to or from Bungie’s servers.
10           74.    On information and belief, Defendants manufacture, import, offer to the
11   public, provide, or otherwise traffic in cheat software that contains technology, products,
12   services, devices, components, or parts thereof, that (A) is primarily designed or produced
13   for the purpose of circumventing Bungie’s technological measure(s) that effectively
14   controls access to a work; (B) has no commercially significant purpose or use other than
15   to circumvent a technological protection measure that effectively controls access to a
16   work; and/or (C) is marketed by Defendants for the express purpose of circumventing
17   technological protection measure(s) that effectively control access to Bungie’s protected
18   work.
19           75.    On information and belief, Defendants manufacture, import, offer to the
20   public, provide, or otherwise traffic in a technology, product, service, device, component,
21   or part thereof, that (A) is primarily designed or produced for the purpose of
22   circumventing protection afforded by technological measure(s) that effectively protects a
23   right of Bungie in a work or a portion thereof; (B) has no commercially significant
24   purpose or use other than to circumvent protection afforded by technological protection
25   measure(s) that effectively protect a right of Bungie in a work or a portion thereof; and/or
26   (C) is marketed by Defendants for the express purpose of circumventing protection


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 1   afforded by technological protection measure(s) that effectively protect Bungie’s
 2   exclusive rights in its protected work or a portion thereof.
 3           76.    As a direct result of Defendants’ trafficking, Bungie has been injured, and
 4   will continue to be injured.
 5           77.    Defendants’ actions were and are willful.
 6           78.    Defendants’ conduct has caused irreparable harm to Bungie, and, unless
 7   enjoined, will cause further irreparable harm for which Bungie has no adequate remedy at
 8   law.
 9           79.    Bungie is entitled to the relief provided by 17 U.S.C. § 1203, including, but
10   not limited to, injunctive relief, an order for the impounding, modification, or destruction
11   of any device or product in Defendants’ custody or control involved in the circumvention
12   of Bungie’s technological measures, damages measured at Bungie’s election either by
13   Bungie’s actual damages and Defendants’ profits or statutory damages, and Bungie’s
14   costs and attorneys’ fees.
15                                  FOURTH CAUSE OF ACTION
16                                     (Breach of Contract)

17           80.    Bungie repeats, realleges, and incorporates herein by reference the
18   allegations in the foregoing paragraphs as if fully set forth herein.
19           81.    Access to and use of Destiny 2 is governed by and subject to the SLA.
20           82.    At all times relevant hereto, Bungie prominently displayed and/or provided
21   links to the SLA, including on its website, www.bungie.net.
22           83.    On information and belief, Defendants agreed to the SLA by downloading,
23   installing, and/or using Destiny 2.
24           84.    The SLA is a valid, enforceable contract between Bungie and Defendants.
25           85.    Defendants breached the SLA by:
26                  (a)     Exploiting Destiny 2 commercially;


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 1                  (b)     Copying, reproducing, distributing, displaying, and/or using
 2   Destiny 2;
 3                  (c)     Selling, renting, leasing, licensing, distributing, and/or transferring
 4   Destiny 2 or any copies thereof;
 5                  (d)     Reverse engineering, deriving source code, modifying,
 6   decompiling, disassembling, and/or creating derivative works of Destiny 2, in whole or in
 7   part; and/or
 8                  (e)     Hacking or modifying Destiny 2, or creating, developing,
 9   modifying, distributing, or using any unauthorized software programs to gain advantage in
10   any online or multiplayer game modes.
11          86.     Bungie has performed its obligations pursuant to the SLA.
12          87.     As a direct and proximate result of Defendants’ breaches of the SLA,
13   Bungie has been and will continue to be harmed, entitling it to injunctive relief, damages,
14   attorneys’ fees, costs, and/or other equitable relief against Defendants.
15                                   FIFTH CAUSE OF ACTION
16                                      (Tortious Interference)

17          88.     Bungie repeats, realleges, and incorporates herein by reference the
18   allegations in the foregoing paragraphs as if fully set forth herein.
19          89.     When a player downloads, installs, and or uses Destiny 2, the player
20   accepts the terms of the SLA.
21          90.     The SLA is a valid and enforceable contract between Bungie and Destiny 2
22   players.
23          91.     On information and belief, Defendants were aware of the SLA between
24   Bungie and players of Destiny 2 because Defendants, by downloading, installing, and/or
25   using Destiny 2, also agreed to the terms of the SLA.
26


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 1          92.     Defendants were aware that the SLA prohibits “hack[ing] or modify[ing]
 2   [Destiny 2], or . . . us[ing] any unauthorized software programs to gain advantage in any
 3   online or multiplayer game modes.”
 4          93.     Defendants intentionally induced or caused Destiny 2 players that use
 5   Defendants’ VeteranCheats Software to breach the SLA.
 6          94.     On information and belief, Defendants interfered with Bungie’s contracts
 7   with Destiny 2 players with an improper purpose.
 8          95.     Defendants also interfered with Bungie’s contracts with Destiny 2 players
 9   through improper means, including the acts described above.
10          96.     As a result of Defendants’ conduct, Bungie has suffered damages,
11   including but not limited to loss of goodwill among players of Destiny 2, expenditure of
12   resources to detect, investigate, and prevent use of Defendants’ cheat software, and
13   decreased profits.
14                              SIXTH CAUSE OF ACTION
15         (Violation of the Washington Consumer Protection Act, RCW 19.86.020)

16          97.     Bungie repeats, realleges, and incorporates herein by reference the
17   allegations in the foregoing paragraphs as if fully set forth herein.
18          98.     The foregoing acts of Defendants constitute unfair methods of competition
19   and unfair or deceptive acts or practices in the conduct of trade or commerce in violation
20   of RCW 19.86.020.
21          99.     Defendants’ conduct affects and is contrary to the public interest, tends to
22   mislead a substantial portion of the public, and has injured and, unless enjoined, will
23   continue to injure Bungie in its business and property.
24          100.    Defendants’ actions further contravene the public interest since there is a
25   strong public interest in computer security and safety. Upon information and belief,
26   Defendants’ cheat software products induce users to disable antivirus and other protective

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 1   measures and obtain low-level access to system resources that can transform unwitting
 2   users’ personal computers into proxies for illegal activity and/or render them vulnerable to
 3   malicious software.
 4             101.   As a result of Defendants’ conduct Bungie has been and will continue to be
 5   damaged and is entitled to actual damages, treble damages, costs of litigation, attorneys’
 6   fees, and an injunction.
 7                                           JURY DEMAND
 8             Pursuant to Federal Rule of Civil Procedure 38(b), Bungie demands a trial by jury
 9   as to all issues so triable in this action.
10                                       PRAYER FOR RELIEF
11             WHEREFORE, Plaintiff Bungie, Inc., prays for the following relief:
12             A.     That judgment be entered in Bungie’s favor against Defendants on all
13   claims.
14             B.     That Defendants and their officers, agents, representatives, servants,
15   employees, heirs, successors, and assigns, and all others in active concert or participation
16   with Defendants be preliminarily and permanently enjoined from:
17                    (1)     Infringing, inducing, or enabling others to infringe Bungie’s
18                            copyrights;
19                    (2)     Creating, writing, developing, advertising, promoting, and/or
20                            offering for sale or otherwise any software that infringes Bungie’s
21                            copyrights;
22                    (3)     Descrambling, decrypting, avoiding, bypassing, removing,
23                            deactivating, or impairing a technological measure that controls
24                            access to Bungie’s copyrighted works;
25                    (4)     Manufacturing, importing, offering to the public, providing, linking
26                            to or otherwise trafficking in any technology, product, service,

                              device, component, or part thereof that (A) is primarily designed or
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 1                      produced for the purpose of circumventing Bungie’s technological
 2                      measure(s) that effectively controls access to a work; (B) has only
 3                      limited commercially significant purpose or use other than to
 4                      circumvent a technological protection measure that effectively
 5                      controls access to a work; and/or (C) is marketed by Defendants for
 6                      use in circumventing technological protection measure(s) that
 7                      effectively control access to a work;
 8               (5)    Manufacturing, importing, offering to the public, providing, linking
 9                      to or otherwise trafficking in any technology, product, service,
10                      device, component, or part thereof that (A) is primarily designed or
11                      produced for the purpose of circumventing protection afforded by
12                      technological measure(s) that effectively protects a right of Bungie
13                      in a work or a portion thereof; (B) has only limited commercially
14                      significant purpose or use other than to circumvent protection
15                      afforded by technological protection measure(s) that effectively
16                      protect a right of Bungie in a work or a portion thereof; and/or (C)
17                      is marketed by Defendants for use in circumventing protection
18                      afforded by technological protection measure(s) that effectively
19                      protect a right of Bungie in a work or a portion thereof;
20               (6)    Accessing Destiny 2 for any purpose not explicitly authorized by
21                      Bungie’s SLA;
22               (7)    Effecting any assignments or transfers, forming new entities or
23                      associations, or utilizing any other device or process for the purpose
24                      of circumventing or otherwise avoiding the terms of the injunction;
25                      and
26               (8)    Aiding or assisting another person or entity in any of the activities

                        described in (1) - (7).
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 1          C.      That Defendants be ordered to destroy all copies of Destiny 2 or any
 2   derivative work thereof in their possession or control;
 3          D.      That Defendants be ordered to destroy all copies of the VeteranCheats
 4   Software and any other software within their possession, custody, or control that enables
 5   users to cheat in Destiny 2;
 6          E.      That all third parties, including without limitation all Internet Service
 7   Providers, hosts, domain name server operators, cloud storage providers, and advertising
 8   service providers, who are currently providing services used in connection with the
 9   VeteranCheats Software be added to the injunction as the Court finds equitable and
10   appropriate;
11          F.      That all banks, savings and loan associations, payment processors or other
12   financial institutions, payment providers, third-party processors, and advertising service
13   providers of Defendants or any of them, be ordered to immediately locate all accounts
14   connected to Defendants or Defendants’ infringing activities and to immediately cease
15   transferring or disposing of any money or other of Defendants’ assets, cease allowing such
16   funds to be transferred or withdrawn, and cease allowing any diminutions to be made by
17   Defendants from such accounts pending further order of the Court.
18          G.      That Bungie be awarded restitution and damages, including but not limited
19   to compensatory, statutory (including enhanced statutory damages for willful
20   infringement), punitive damages, and all other damages permitted by law;
21          H.      That Bungie be awarded pre-judgement and post-judgment interest on all
22   damages awarded against Defendants;
23          I.      That Bungie be awarded its costs incurred in this suit as well as reasonable
24   attorneys’ fees; and
25          J.      For such other relief as the Court deems just and proper.
26


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 1   DATED: August 18, 2021      Respectfully Submitted,
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